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                    EXHIBIT
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                                                  September 27, 2024

      Via email L.I \\I h usdo •." OV


      Leo J. Wise
      Principal Senior Assistant Special Counsel
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Room B-200
      Washington, DC 2053 0

                Re:       United States v. Smirnov, 2:24-cr-00091-ODW

      Dear Mr. Wise:

             I write regarding the government's discovery production 111 the above-
      referenced case.

            First, we have previously sent three letters (dated March 5, May 28, and
      August 28, 2024) requesting certain specific discovery in addition to (or, as pa1t of)
      the government's discovery obi igations under Rule I 6, Jencks, Brady, and Giglio,
      among others. Our comparison between our letters and the discovery that the
      government has produced to date reveals that we have not received complete (or,
      any) discovery, as follows:

      I.        March 5 letter (no discovery in response to request, by paragraph)

                 •        iJ7    [No discovery.]
                 •        i110 [We assume your response only includes                          ,
                          in which case we have received nothing in response to subparagraphs
                          (a) through (h). We are in receipt of a recorded interview, rep01ts of
                          interviews, grand jury testimony, grand jury subpoena, photographs of
                          messages between him and AS, and photos of passport.]
                 •        ,i12 [We do not see this assessment.]
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           •          iJ23   [We do not see any communication from the FBI's Pitt.]
           •          iJ37   [We see no response from Mr. Weiss' team.]

           In addition to the foregoing, the government's response raises the following
    issues regarding our March 5 letter:

            •          ,r19 [Some responsive discovery was provided in government
                      production no. 1 (with                 travel summary), but we do not
                      have any records of compensation, cooperation benefits, or equivalent
                      items, pertaining to the government's witnesses.]
            •          iJiJ24-27    [The only item that appears responsive regarding
                      communications between AS and Associate 2 are some emails, texts,
                      and travel records; none of these, however, appear to relate to
                      interaction with Burisma officials.]
            •          138 [We received the CHS reporting document in government
                      production no. 1, but there appears to be more communication on this
                      topic that has not been produced.]

    II.     May 28 Letter

            •         The production of only three FD 1023s appears to be incomplete, given
                      the duration of the contact between AS and his handler. We need all
                      FD 1023's from the beginning of their relationship.

    III.    August 28 Letter

            •          We have not, since our specific August 28, 2024 request, received any
                       discovery related to Hunter Biden's or Mr. Smirnov's work or
                       interaction with Burisma. This request included, but was not limited to
                       State Department released to information that was provided to the New
                       York Times and a letter that was evidently sent by Hunter Biden to the
                       Italian Embassy.

           Second, we need to confim1 that the government has provided us with all
     discovery documenting any contact or communication between Mr. Smimov and his
     handler. In particular, we have not received any evidence from this category of
     discovery reflecting Smirnov-Handler communications dating from before 2016.
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    We thus request discovery evidence any and all such contacts or communications,
    from any date.

           Third, should the government possess, but decline to produce, any
    discoverable evidence of any sort (including, but not limited to pre-2016
    communications), we request that you 1) state your position in writing, and 2) set
    forth the basis of the refusal to produce it.

           Finally, the CIPA restrictions in this case 1) have limited defense counsel, to
    date, to only one authorized viewing (in the Secure Unit in Los Angeles) of that
    discovery, and 2) necessarily preclude any substantive discussion in this letter of any
    viewed CIPA-discovery. Should you believe that any restricted CIPA-discovery is
    responsive to any of the items identified in this letter, please notify me about that
    fact only (with nothing substantive), so that the parties and security officers can
    agree on a mutually acceptable way to further Mr. Smimov's effective trial
    preparation without compromising any aspect of the statutory CIPA restrictions, the
    Protective Order, or the government's interest in confidentiality.

           Thank you for your attention to this matter.

                                            Sincerely,

                                            CHESNOFF & SCHONFELD

                                            ~
                                            David Z Chesnoff, Esq.


    cc: cleh@usdoj.gov; sean.m ul1y 11e(irusdoj.Qov; christopher.rigali2@.uscloi .gov




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